         Case 1:20-cv-02658-CJN Document 58 Filed 11/25/20 Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


TIKTOK INC., et al.,

                       Plaintiffs,

        v.                                            Case No. 20-cv-02658 (CJN)

DONALD J. TRUMP, in his official capacity
as President of the United States, et al.,

                       Defendants.



              PLAINTIFFS’ NOTICE OF EXTENSION IN CFIUS MATTER

       At the November 4, 2020 hearing on Plaintiffs’ renewed motion for preliminary injunction,

the Court instructed the parties to keep the Court apprised of any developments in the Committee

on Foreign Investment in the United States (“CFIUS”) process concerning Plaintiffs. Pursuant to

that request, Plaintiffs previously notified the Court that on November 12, 2020, CFIUS granted

an extension of the 90-day period specified in Section 2(b) of the Presidential Order Regarding the

Acquisition of Musical.ly by ByteDance Ltd., 85 Fed. Reg. 51,297 (Aug. 14, 2020), for an

additional 15 days, from November 12, 2020 to November 27, 2020. See ECF No. 56. Pursuant

to the Court’s November 4, 2020 request, Plaintiffs hereby notify the Court that on November 25,

2020, CFIUS granted an additional one-week extension of that period, from November 27, 2020

to December 4, 2020.



DATED: November 25, 2020                     Respectfully submitted,

                                              /s/ John E. Hall

 Anders Linderot (Pro hac vice)              John E. Hall (D.C. Bar. No. 415364)
 COVINGTON & BURLING LLP                     Beth S. Brinkmann (D.C. Bar. No. 477771)
 The New York Times Building                 Alexander A. Berengaut (D.C. Bar. No. 989222)


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        Case 1:20-cv-02658-CJN Document 58 Filed 11/25/20 Page 2 of 2




620 Eighth Avenue                      Megan A. Crowley (D.C. Bar. No. 1049027)
New York, New York 10018-1405          Megan C. Keenan (D.C. Bar. No. 1672508)
Telephone: +1 (212) 841-1000           COVINGTON & BURLING LLP
Facsimile: + 1 (212) 841-1010          One CityCenter
Email: alinderot@cov.com               850 Tenth Street, NW
                                       Washington, DC 20001
Mitchell A. Kamin (Pro hac vice)       Telephone: +1 (202) 662-6000
COVINGTON & BURLING LLP                Facsimile: + 1 (202) 778-6000
1999 Avenue of the Stars, Suite 3500   Email: jhall@cov.com
Los Angeles, California 90067-4643            bbrinkmann@cov.com
Telephone: + 1 (424) 332-4800                 aberengaut@cov.com
Facsimile: + 1 (424) 332-4749                 mcrowley@cov.com
Email: mkamin@cov.com                         mkeenan@cov.com



                                       Attorneys for Plaintiffs




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